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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    WASHINGTON CATTLEMEN’S                               CASE NO. C19-0569-JCC
      ASSOCIATION,
10
                                                           ORDER
11                           Plaintiff,
              v.
12
      UNITED STATES ENVIRONMENTAL
13    PROTECTION AGENCY, et al.,
14                           Defendants.
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16          This matter comes before the Court on the parties’ joint status report and stipulated
17   motion to extend the stay of these proceedings (Dkt. No. 106).
18          In this action, Plaintiff Washington Cattlemen’s Association brings claims against the
19   Environmental Protection Agency and the Army Corps of Engineers challenging three
20   successive rules defining “waters of the United States” in the Clean Water Act. (See generally
21   Dkt. No. 72.) On February 8, 2021, the Court issued an order staying this matter until May 1,
22   2021 based on President Biden’s January 20, 2021 Executive Order. (See generally Dkt. No. 47.)
23   The Court later extended the stay until July 1, 2021, while the Agencies review of the rule at
24   issue remained ongoing. (Dkt. No. 99.) In light of the Agencies’ rulemaking announced June 9,
25   2021, to revise the definition of “waters of the United States,” (Dkt. No. 100 at 3), the Court
26   continued the stay until October 1, 2021. (Dkt. No. 101.)

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 1          The parties now request a further six-month abeyance while the Agencies continue the

 2   rulemaking process of defining “waters of the United States.” (Dkt. No. 106 at 5.) Further, the

 3   parties contend that their litigation strategy in this matter may be affected by how the Agencies

 4   and intervener defendants in a separate case respond to an order vacating and remanding the

 5   Navigable Waters Protection Rule. (Id. at 4–5 (citing Pascua Yaqui Tribe v. EPA, CV-20-00266-

 6   TUC-RM, ECF No. 99 at 11 (D. Ariz. 2021).)

 7          Having thoroughly considered the motion and the relevant record, and finding good

 8   cause, the Court GRANTS the motion (Dkt. No. 106) and ORDERS:

 9          1. This matter will remain STAYED until April 1, 2022.

10          2. The parties must file a joint status report and proposal to further govern proceedings

11              on or before April 1, 2022.

12          DATED this 29th day of September 2021.




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                                                          John C. Coughenour
16                                                        UNITED STATES DISTRICT JUDGE
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